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Attorne s for Defendants
Vikki . Paulson and
Crystal L. Christensen

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff`,
v.

JOHN MICHAEL PAULSON, as the
Executor or Statutory Executor of the
Estatc_>, of Allen E. Paulson, and
Indlvldually;

JAMES D. PAULSON, as Statutory
Executor of the Estate of Allen E.
Paulson;

VIKKI E. PAULSON, as Statutory
Executor of the Estate of Allen E.
Paulson, a_s '_l`rustee of the Allqn_E.
Paulson lemg Trust, and Indlvldually;

CRYSTAL CHRISTENSEN, as
Statutory Executor of the Estate of
Allen E. Paulson, a_s Trustee of the
Allc_zn_ E. Paulson leing Trust, and
lndlvldually;

MADELEINE PICKENS, as Statutory
Executor of the Estate of Allen E.
Paulson, as Trustee of the Marital Trust
cr_eated under the Allen E. Paulson
le\n§ ”_I`rust, as Trustee of the

Made elne Anne Paulsqn_Separate
Property Trust, and lndlvldually;

Defendants.

 

 

CASE NO. 15CV2057 AJB NLS
[Assigned to Hon. Anthony J. Battaglia

- Courtroom 3B]

NOTlCE OF ERRATA

Date: January 21, 2016
Time: 2:00 P.M.
Place: Courtroom 3B
221 W_est Broadway_
San Dlego, Callf`omla 92101

Complaint Filed: September 16, 2015

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TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTlCE that Defendants Vikki E. Paulson and Crystal L.
Christensen hereby submit this Notice of Errata to Memorandum of Points and
Authorities in Support of Motion to Dismiss Complaint (attached hereto as Ex. 1) as
follows:

l. Page ii of the Table of Contents was inadvertently filed with
handwritten notations, they have been removed and the case cites edited; and

2. Pages 3, 4 and 5 of the Mernorandum were filed out of order and have

been corrected.

Dated: December 17, 2015 Respectfully submitted:

ZUBER LAWLER & DEL DUCA LLP
JEREMY J. GRAv

By: /s/ Jeremy./. Gray
Attorneys Defendants for Vikki E. Paulson
and Crystal L. Christensen

 

2 Case NO.: 15CV2057 AJB NLS

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY ()F LOS ANGELES

At the time ofserv`ice, l was over 18 years ofage and not a party to this
action. I am employed in the Count of Los AnF,eles, State ofCalil`ornia. l\/ly
gggii‘i§:ss€§lgress is 77 S. Figueroa gtreet, 37th ~loor, Los Angeles, Callf"ornia

, On December 17, 2015, l served true copies of the followin%_document(s)
tf;lelslcribed as NOTlCE OF ERRATA on the interested partles in t is action as
lo ows:

SEE ATTACHED SERVICE LIST

BY CM/ECF NOTlCE`Ol_F ELECTRONIC_ FILING_: _l caused said clocunient(s)
to be served by means ol' this Court's electronic transmission ol"the Not_ice of
Electronic Filing through the Court’s transmission facilities, to_the paitles and/or
c§_unéel who are registered CM/ECF Users set forth in the service list obtained front
t is ourt.

_l declare under penalty of perjury under the laws of the United S_tates of
America that the foregoing i_s true and correct and th_at I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on December 17, 2015, at Los Angeles, Californ`ia.

tci/tac %,Cw`

ljebbie .I. Ellis

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SERVICE LIST
United States of America v. John Michael Paulson, et al.
Case No. 3:15-cv-02057-AJB-NLS

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Moha P. Yepuri _

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Case No.: lSCV2057 AJB NLS
NOTlCE OF ERRATA

 

